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                  IN T H E UNITED STATES DISTRICT COURT ro \ "i
                     NORTHERN DISTRICT OF G E O R G I A    ^        ^^^^ c\e^^
                              ATLANTA DIVISION          ^KW^tsv^-^''^ ^ ^^s>^^f'''



K E N JOSEPH
      Plaintiff                                 CASE# l:16-cv-00029-AT-RGV
V.

B A R C L A Y S BANK D E L A W A R E
     Defendant


        JOINT STIPULATION OF DISMISSAL W I T H PREJUDICE

      Pursuant to Federal Rule of Civil Procedure 41(a)(l)(A)(ii), Plaintiff, Ken

Joseph ("Plaintiff), and Defendant, BARCLAYS BANK DELAWARE

("BARCLAYS"), hereby file this Joint Stipulation of Dismissal with Prejudice of

all claims brought in this action and state: Plaintiff dismisses all claims against

BARCLAYS with prejudice. Each party is to bear their own respective attorney's

fees and costs.




                                        Respectfully Submitted,



                                        Dated this 6th day of September, 2017.




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                         C E R T I F I C A T E OF S E R V I C E

This is to certify that a true and correct copy of the document above was sent by
first class mail USPS to counsel of record listed below for Defendant.

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Dated: September 6*, 2017



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